
*273OPINION.
Akundell :
The point in controversy is whether the sale was made at the price of $108,000 with an initial payment of $23,000, as contended by petitioner, or $120,000 with a down payment of $35,000, as determined by the respondent.
The evidence of record convinces us that the true consideration for the property was $108,000, the price named in the option given Rankin, and that the initial payment was $23,000. The record does not clearly disclose the reason Rankin and West had for wanting the *274sale to be recorded on the books of petitioner as a sale for $120,000, with a down payment of $35,000. Whatever their object may have been the understanding did not alter the terms of the option pursuant to the terms of which the sale was made.
The petitioner having received less than 25 per cent of the sale price of the property in 1923, respondent erred in refusing to permit petitioner to return the profit realized on the sale on the installment basis. Sections 212 (c) and 1208 of the Revenue Act of 1926.

Decision will be entered under Rule 50.

